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 3
     Attorney for Michael Llamas
 4
 5
 6                        IN THE UNITED STATES DISTRICT COURT

 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
                                                    )
 9   UNITED STATES OF AMERICA,                      ) Case No.: 2:12-cr-00315-JAM
                                                    )
10                 Plaintiff,                       )
            vs.                                     ) DEFENDANT’S WAIVER OF
11                                                  ) APPEARANCE
     LEE LOOMIS, et al.,                            )
12                                                  )
                   Defendants.                      )
13                                                  )
                                                    )
14                                                  )
15
16          Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, the Defendant,
17   Michael Llamas, hereby waives the right to be personally present in open court upon the
18   hearing of any motion or other proceeding in this case, except for any proceeding which
19   Defendant’s presence is required such as a plea, any proceeding during the trial, and
20   sentencing or any court appearance which the Court orders Defendant to be present.
21   Defendant hereby requests the Court to proceed during every absence of his presence
22   which the Court may permit pursuant to this waiver. Defendant agrees that his interests
23   will be deemed represented at all times by the presence of his attorney, the same as if
24   Defendant were personally present, and further agrees to be present in court ready for
25   trial any day and time the Court may arrange in his absence.
26          The Defendant further acknowledges that he has been informed of his rights under
27   Title 18 U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorney to set times
28   and delays under that Act without Defendant being present.



                                 Waiver of Appearance            -1-
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 1
     DATE: March 19, 2013                     /s/ Michael Llamas
 2                                            MICHAEL LLAMAS
                                              Defendant
 3
 4   I agree with and consent to my client’s waiver of appearance.
 5
 6   DATE: March 19, 2013
                                              /s/ Thomas A. Johnson
 7                                            THOMAS A. JOHNSON
                                              Attorney for Michael Llamas
 8
 9                                           ORDER
10
           It is so ordered.
11
12
     Dated: 3/19/2013                         /s/ John A. Mendez____________
13                                            JOHN A. MENDEZ
14                                            United States District Court Judge

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                               Waiver of Appearance            -2-
